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                                                                                                 US009388139B2


02)    United States Patent                                                (IO)   Patent No.:                     US 9,388,139 B2
       Piazza et al.                                                       (45)   Date of Patent:                             Jul. 12, 2016

(54)   DERIVATIVES OF CELEBOXIB, USE                                   (58)    Field of Classification Search
       THEREOF ND PREPARATION THEREOF                                          None
                                                                               See application file for complete search history.
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                  Ashraf 8. Abadi, Cairo (EG)                          (56)                       References Cited

(73)   Assignees: German University, Cairo (EG);                                          U.S. PATENT DOCUMENTS
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                                                                        2004/0198826       Al      l 0/2 004   Baiker et al.
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( *)   Notice:      Subject to any disclaimer, the term of this         2008/0300278       Al      1212008     Torrens Jover et al.
                    patent is extended or adjusted under 35
                    U.S.C. 154(b) by O days.                                                OTHER PUBLICATIONS

(21)   Appl. No:          14/005,462                                   Levai, Synthesis of carboxylic acid derivatives of 2-pyrazolines,
                                                                       Arkivoc, 2007, I, pp. 134-145.•
(22)   PCT Filed:         Mar. 16, 2012                                Mukai, On the syntheses and the optical properties of optically active
                                                                       2-pyrazoline compounds, Can. J. Chem., 1979, 57, pp. 360-366.•
(86)   PCT No.            PCT/US2012/029328
                                                                       * cited by examiner
       § 371 (c)(l),
       (2), (4) Date:     Dec. 12, 2013                               Primary Examiner - San-Ming Hui
                                                                      Assistant Examiner -Andrew Lee
(87)   PCT Pub. No ..     W02012/125884
                                                                      (74) Attorney, Agent, or Firm - Polsinelli PC
       PCT Pub. Date: Sep. 20, 2012
                                                                       (57)                          ABSTRACT
(65)                    Prior Publication Data
                                                                       Derivatives of celecoxib that lack cyclooxygenase inhibitory
       US 2014/0171477 Al          Jun. 19, 2014                       activity but have improved PDE5 inhibitory activity are pro-
                                                                       vided along with pharmaceutical compositions containing
                 Related U.S. Application Data
                                                                       them for the treatment or prevention of cancer. Such com-
(60)   Provisional application No. 61/453,795, filed on Mar.           pounds are expected to have reduced toxicity compared with
       17, 2011                                                        celecoxib and other cyclooxygenase inhibitors, and greater
                                                                       efficacy compared with conventional PDE5 inhibitors.
(51)   Int. CJ.                                                        Derivatives of celecoxib are also suitable for treating chronic
       C07D231/06               (2006.01)                              inflammatory conditions, erectile dysfunction, pulmonary
       C07D231112               (2006.01)                              hypertension, congestive heart failure, and enhancement of
(52)   U.S.CI.                                                         cognitive function.
       CPC              C07D 231106 (2013.01); C07D 231112
                                                  (2013.01)                                     8 Claims, No Drawings




                                                                                                                                                         EXHIBIT
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                                                                                                                                          "

                                                       US 9,388,139 B2
                                1                                                                    2
        DERIVATIVES OF CELEBOXIB, USE                                   inhibitory activity of celecoxib provides cardioprotecrive
      THEREOF AND PREPARATION THEREOF                                   activity, which may explain why celecoxib has less cardio-
                                                                        vascular toxicity compared with other COX-2 inhibitors,
            CROSS REFERENCE TO RELATED                                  such as rofecoxib''
                   APPLICATIONS                                            Notwithstanding the advances in treatments for cancer and
                                                                        other diseases there still remains room for improved drugs
   This application is a National Phase filing under 35 U.S.C.          that are effective, while at the same time exhibiting reduced
§371 of PCT/US2012/029328 filed on Mar. 16, 2013; and this              adverse side effects.
application claims the benefit ofU.S. Provisional Application
No. 61/453, 795 filed on Mar. 17, 2011; the entire contents of IO                     SUMMARY OF DJSCLOSURE
all are hereby incorporated by reference.
                                                                          TI1e present disclosure relates to derivatives of celecoxib
      FEDERALLY SPONSORED RESEARCH AND                                  represented by the formula:
                DEVELOPMENT
                                                                   15
   This invention was supported by Grant l ROI CA148817-
0lAl from the National Cancer Institute of the National
Institutes of Health and the US Government has certain rights
in the invention.
                                                                  20
                     TECHNICAL FIELD

    The present disclosure relates to certain derivatives of cele-
 coxib. According to the present disclosure, the disclosed com-
 pounds lack COX-2 inhibitory activity but retain PDE5 25
 inhibitory activity. The present disclosure also relates to phar-
maceutical compositions comprising the disclosed deriva-
 tives of celecoxib, as well as a method of using the com-                wherein R1 is selected from the group consisting of -H,
 pounds for the treatment of cancer in a mammal. Also                 -F, -Cl, Br, dihalo, -CH3 , -OCH3 , -OC2H5 , 3,4-0-
 disclosed is a method for the preparation thereof. Disclosed 30 CH2-0-, -N02, and -OH;
 derivatives of celecoxib are also suitable for treating chronic          R2 is selected from the group consisting of -COOH,
 inflammatory conditions with reduced cardiovascular toxic-           -S03H,          ONHR (R is selected from the group consisting
 ity, erectile dysfunction, enhancement of cognitive functions,       of -CH3, -C2H5, -C3H7, and C4H9), -S02-NHR (R is
benign prostatic hyperplasia, pulmonary arterial hyperten-            selected from the group consisting of -CH3, -C2H5,
 sion and congestive heart failure.                                35 -C H , and C H ); and
                                                                           3 7         4 9
                                                                          R3 is selected from the group consisting of -r-buryl, phenyl,
                         BACKGROUND
                                                                      methoxyphenyl, dimethoxyphenyl, and 4-halophenyl;
                                                                          and pharmaceutically acceptable salts thereof, prodrugs
    Even though significant advances have occurred in the
                                                                      thereof, solvates thereof and mixtures thereof.
treatment of cancer, it still remains a major health concern. 40
Cancer has been reported as the leading cause of death in the            It is understood that the compounds of the present disclo-
United States with one of every four Americans likely to be           sure relate to all optical isomers racemate and stereo-isomers
diagnosed with the disease'                                           at the various possible atoms oft he molecule, unless specified
    Included among the known chemotherapeutic drugs are               otherwise
carmustine, doxorubicin, methotrexate, paclitaxel, cyclo- 45             Pyrazoline derivatives of celccoxib according to the
phosphamide, procarbazine, and vinblastine, to name only a            present disclosure lack COX-2 and COX-1 inhibitory activity
few. However, many chemotherapeutic drugs also produce                but retain or have improved PDE5 inhibitory activity and
undesirable side effects in the parienr':",                           ability to inhibit neoplastic cell growth. Accordingly, also
    Certain nonsteroidal anti-inflammatory drugs (NSAIDs)             disclosed are methods of using the compounds of the present
have been recognized to have broad anticancer activity in 50 disclosure in treating or preventing cancer in a mammal.
animal models alone and in combination with chemotherapy                 Another aspect of this disclosure is concerned with meth-
or radiation"                                                         ods of using the compounds in treating chronic inflammatory
    Cyclooxygenase 2 (COX-2) inhibitors are known to have             diseases such as inflammatory bowel disease and certain neu-
cancer chemopreventive and therapeutic benefits. Their clini-         rodegenerative diseases including Alzheimer's disease,
cal use, however, is limited by cardiovascular toxicities 55 dementia and enhancement of cognitive functions. TI1e dis-
including myocardial infarction and stroke. These toxicities          closed compounds are useful in the treatment of cardiovas-
result from COX-2 inhibition in endothelial cells and the             cular disorders like puhnonary arterial hypertension and con-
suppression of prostacyclin, which has vasodilatory activity          gestive heart failure.
and can inhibit platelet aggregation. Previous studies suggest           A still further aspect of this disclosure concerned with a
that the anticancer properties of COX-2 inhibitors may not 60 method for preparing the above-disclosed compounds.
involve COX-2, but rather involves the inhibition of phos-               Still other objects and advantages of the present disclosure
phodiesterase 5 (PDE5) and elevation of the intracellular             will become readily apparent by those skilled in the art from
signaling molecule, cyclic GMP to selectively induce the              the following detailed description, wherein it is shown and
apoptosis (programmed cell death) of tumor cells5-7.                  described only the preferred embodiments, simply by way of
    The present inventors have shown that the COX-2 inhibi- 65 illustration of the best mode. As will be realized, the disclo-
tor, celecoxib can inhibit PDE5 at concentrations that sup-           sure is capable of other and different embodiments, and its
press tumor cell growth. Others have shown that the PDE5              several details are capable of modifications in various obvious
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                                 3                                                                          4
respects, without departing from the disclosure. Accordingly,               nicotinate, isonicotinate, nitrate, oxalate, phthalate, teraph-
the description is to be regarded as illustrative in nature and             thalate, phosphate, monohydrogenphosphare, dihydrogen-
not as restrictive.                                                         phosphate, metaphosphate, pyrophosphate, propiolate, pro-
                                                                            pionate, phenylpropionate, salicylate, sebacate, succinate,
                BEST AND VARIOUS MODES                                 5    suberate, sulfate, bisulfate, pyrosulfate, sulfite, bisulfite, sul-
                                                                            fonate, benzene-sulfonate, p-bromobenzenesulfonate, chlo-
   TI1e present disclosure relates to derivatives of celecoxib              robenzenesulfonate, ethanesulfonare, 2-hydroxyethane-
represented by the formula:                                                 sulfonate,     methanesulfonate,      uaphthalene-Lsulfonate,
                                                                            naphthalene-z-sulfonare,        p-toleunesulfonate,       xylene-
                                                                       JO   sulfonate, tartarate, and the like.
                                                                               Bases commonly used for formation of salts include
                                                                            ammonium hydroxide and alkali and alkaline earth metal
                                                                            hydroxides, carbonates, as well as aliphatic and primary, sec-
                                                                       15   ondary and tertiary amines, aliphatic diamines. Bases espe-
                                                                            cially useful in the preparation of addition salts include
                                                                            sodium hydroxide, potassium hydroxide, ammonium
                                                                            hydroxide, potassium carbonate, methylamine, diethy-
                                                                            lamine, and ethylene diamine.
                                                                               "Solvates" refers to the compound formed by the interac-
                                                                       20
                                                                            tion of a solvent and a solute and includes hydrates. Solvates
                                                                            are usually crystalline solid adducts containing solvent mol-
    wherein R 1 is selected from the group consisting of -H,                ecules within the crystal structure, in either stoichiometric or
-F, --Cl, Br, dihalo, --CH 3, --OCH 3, -OCJI5, 3,4-0-                       nonstoichiometric proportions.
CH2--0-, -N0 2, and -OH;                                               25
                                                                               The term "comprising" (and its gramm atical variations) as
    R2 is selected from the group consisting of -COOH,                      used herein is used in the inclusive sense of "having" or
-S0 3H, --CONHR (R is selected from the group consisting                    "including" and not in the exclusive sense of"consisting only
of --CH 3 , -C 2 H 5 , --C 3 H 7 , and C 4 H 9 ), -S02-NHR (R is            of." The terms "a" and "the" as used herein are understood to
selected from the group consisting of --CH 3, -C 2H 5,                      encompass the plural as well as the singular.
-C 3 H 7 , and C 4 H 9 ); and                                          30
                                                                               Representative compounds according to the present disclo-
    R3 is selected from the group consisting of-t-butyl, phenyl,            sure can be prepared as shown below (Scheme 1). For sim-
methoxyphenyl, dimethoxyphenyl, and 4-halophenyl;                           plicity, the below process shows only a R 3 substituent and the
    and pharmaceutically acceptable salts thereof, prodrugs                 COOH derivative, it being understood that the other deriva-
thereof, solvates thereof and mixtures thereof.                             tives can be fabricated by the above process using the appro-
    It is understood that the compounds of the present disclo-         35   priate precursors as would be understood by those skilled in
sure relate to all optical isomers racemate and stereo-isomers              the art.
at the various possible atoms of the molecule, unless specified


                                                                            Q
otherwise
    Preparations of prodrug derivatives are discussed in vari-
ous literature sources (examples are: Alexander et al., J. Med.        40
Chem. 1988, 31, 318; Aligas-Martin et al., PCT WO                           I                   +
                                                                                                                    NaOH/EtOH
pp/41531, p. 30). The nitrogen function converted in prepar-
ing these derivatives is one (or more) of the nitrogen atoms of              1/- #
                                                                            R1
                                                                                        CHO
a compound of the disclosure.
   "Pharmaceutically acceptable salts" refer to derivatives of         45
the disclosed compounds wherein the parent compound is
modified by making acid or base salts thereof. The com-
pounds of this disclosure form acid and base addition salts
with a wide variety of organic and inorganic acids and bases
and includes the physiologically acceptable salts which are            50
often used in pharmaceutical chemistry. Such salts are also                                                            DMF/80°C.
part of this disclosure. Typical inorganic acids used to form
such salts include hydrochloric, hydrobromic, hydroiodic,
nitric, sulfuric, phosphoric, hypophosphoric and the like.
Salts derived from organic acids, such as aliphatic mono and           55
dicarboxylic acids, phenyl substituted alkonic acids,
hydroxyalkanoic and hydroxyalkandioic acids, aromatic
acids, aliphatic and aromatic sulfonic acids, may also be used.
Such pharmaceutically acceptable salts thus include acetate,
phenylacetate, trifluoroacetate, acrylate, ascorbate, benzoate,        60
chlorobenzoate, dinitrobenzoate, hydroxybenzoate, meth-
oxybenzoate, methylbenzoate, o-acetoxybenzoate, naphtha-
lene-z-benzoare, bromide, isobutyrate, phenylbutyrate, ~-hy-
droxybutyrate,        butyne-1,4-dioate,          hexyne-1,4-dioate,
cabrate, caprylate, chloride, cinnamate, citrate, formate,             65
fumarate, glycollate, heptanoate, hippurate, lactate, malate,                  The following are representative compounds but non-lim-
maleate, hydroxymaleate, malonate, mandelate, mesylate,                     iting examples of the present disclosure:
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               5                                      6
                                                  -continued
         MeO




                                10




                                15




                               20




                               25




                               30



                                              r7YN-:
                               35
                                       HOOC~




         r7YN-:                40


   HOOC~
    HO
                               45




                               50




                               55          H,CO




                               60




                               65
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                                7                                                8
                       -continued                                           -continued
     Cl                             Cl

                                                                                              Cl


                                N..._#
                                         N




   HO
        P  Cl
               0
                   ~




                       =-
                                                    10




                                                    15
                                                                            =-         F




                                                                                     N..._j
                                                   20
                                                               HO

                                                                    P
                                                                    0
                                                                        ~



                                                                        F
                                                   25

                                    Br



                                                   30

                                N..._#
                                         N



   HO
        P  0
                            ~
                                                   35




                                                   40


    "'-o
                                                   45
                           -=

                                                    50




                                                    55
                       =-
          Br           ~        /2
                                                    60




                                                    65
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              9                                                                    10
          -continued                                                        -continued
         Me
                                                                           Cl




                                             10




                                             15




                                             20




                                             25
                                                                                                                 F




                                            30




                                                        TABLE 1

                              Inhibitory effect of the exemplified compounds against PDE5, COX!,
                         COX2, and growth of the human breast MDA-MB-231 and colorectal HT-29 rumor
                                                            cell lines.

                                                                                                        IC 50
                                                                                                         µM
                                                                          JC 50     IC 50     IC 50    against        ICso
                                                                           µM        µM        µM      MDA-            µM
              Compound                                                   against   against   against    MB-          against
                 ID                       Structure                      PDE5      COX!      COX2        231         HT-29

                                    MeO                                   2.02      >100     >100       >50           >50




                                                                          5.70      >100     >100       >50           >50
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                            11                                                                            12
                                         TABLE I-continued
                  Inhibitory effect oftbe exemplified compounds against PDE5, COX!,
             COX2, and growtb oftbe human breast MDA-MB-231 and colorectal HT-29 tumor
                                               cell lines.

                                                                                           ICso
                                                                                            µ,'vi
                                                              ICso     ICso      ICso     against    ICso
                                                               µM       µM        µIv!    MDA-        µ.'vi
Compound                                                    against   against   against    MB-      against
   ID                        Structure                       PDE5     COX!      COX2        231     HT-29

    3                                                          3.2    >100      >JOO      >50       >50




                     -0-
                                         N
                                         ·, #
                                           N
             HOOC                          .


    4                                                         23.5    >JOO      >100      >50       >50




                      ~N.._j
             HOOC~

                                                               2.1    >JOO      >JOO      >50       >50




    6           Cl                                             9.9     >JOO     >100      >50         39.9




    7                                                          1.2     >JOO     >100        48.0      36.7
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                                                                          US 9,388,139 B2
                                            13                                                                                     14
                                                        TABLE I-continued

                         Inhibitory effect of the exemplified compounds against PDE5, COX I,
                  COX2, and growth of the human breast MDA-MB-231 and colorectal HT-29 tumor
                                                                cell Jines.


                                                                                                                IC,o
                                                                                                                µM
                                                                                  ICso      IC,o      ICso     against    ICso
                                                                                  µM        µM        J.ll\1   MDA-       J.ll\1
Compound                                                                         against   against   against    MB-      against
   ID                                       Structure                            PDE5      COX!      COX2       231      HT-29




    8         H3CO                                                                3.2      >JOO      >100      >50       >50

                                     ~
                          f
                                  --::::=




                       0-N                   N      #
                                                         H3CO



              HOOC


    9         H3CO                                                                 1.8     >100      >JOO       45.6       25.9




                   ,,eyN-/                                               OCH3
           HOOC


   10


           H="Q N                                                                 6.9      >JOO      >JOO      >50        42.5




                                      w-,
                                                                    OCH3



                                                                          OCH3

                       --::::::

                   ~      /
           H3CO


   II             H3CO                                                            3.8      >JOO      >100       27.6       15.6
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                                 15                                                                                  16
                                                TABLE I-continued

                       Inhibitory effect of the exemplified compounds against PDE5, COX!,
             COX2, and growth of the human breast MDA-MB-23 I and colorectal HT-29 rumor
                                                     cell lines.


                                                                                                   ICso
                                                                                                   µM

                                                                     ICso      ICso      ICso     against    ICso
                                                                     µM        µM        µIv!     MDA-       µ,\II
Compound                                                            against   against   against    MB-      against
   ID                             Structure                         PDE5      COX!      COX2       231      HT-29


   12            Cl                                                   3.7     >JOO      >JOO       >50       29.8




             HO
                  pN-N                           #




                            0


   13                      Cl                                         5.5      >JOO      >JOO      >50       25.7

                                =-
                      Cl              ll


            HO
                 pN-/
                      0


   14                                      Br                         6.9      >JOO      >JOO      >50       39.6




             HO~
                                n:-:
                            0


   15
                 "'-o                                                 2.9      >JOO      >JOO       >50        6.0
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                                  17                                                                                   18
                                              TABLE I-continued

                 Inhibitory effect oft.he exemplified compounds against PDE5, COXI,
            COX2, and growth oft.he human breast MDA-MB-231 and colorectal J-IT-29 tumor
                                               cell lines.


                                                                                                     ICso
                                                                                                      µM
                                                                       IC50      ICso      IC50     against    JC50
                                                                       µM         11M      µM       MDA-       µ,'vi
Compound                                                              against   against   against    MB-      against
   ID                             Structure                           PDE5      COX!      COX2       231      HT-29

   16                                                                  3.1      >JOO      >JOO       >50         8.8


                        Br




           HO
                )-VN                          '-.
                                                    1
                                                        "7

                0


   I7                                                                   1.9     >JOO      >JOO       >50        20.8


                                                             Cl




           HO   )-VN                          \N--,:::


                0


   18
                                 =-           F
                                                                       3.3      >JOO      >100       >50      >50


                                       A




   19
           HO
                .o: 0

                                                                       2.7      >JOO      >JOO       >50      >50
                             F




  20                                                                   2.0      >JOO      >100       >50       22.0
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                          19                                                                              20
                                          TABLE I-continued

                Inhibitory effect of the exemplified compounds against PDE5, COX!,
           COX2, and growth of the human breast MDA-MB-231 and colorectal HT-29 tumor
                                              cell lines.


                                                                                          ICso
                                                                                           µM
                                                              ICso    ICso      ICso     against    ICso
                                                               µM      µM        µi\1    MDA-        µi\1
Compound                                                   against   against   against   MB-       against
   ID                         Structure                       PDE5   COX!      COX2       231      HT-29

   21                    Cl                                   8.7    >JOO       >JOO      >50       >50




           HOOC
                  -0-N'Nu
   22                                                         6.22   >JOO       >JOO      >50       >50


                              \ j


           HOOC
                  -0-N'Nu
   23                   Me                                    8.4    >JOO       >100      >50       >50




   24                                                         7.7     >JOO      >JOO      >50       >50




   25                    F                                    3.3     >100      >JOO      >50       >50
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                                   21                                                                                     22
                                                     TABLE !-continued
                     Inhibitory effect of the exemplified compounds against PDE5, COX!,
                COX2, and growth of the human breast MDA-MB-231 and colorectal HT-29 tumor
                                                   cell lines.

                                                                                                         lCso
                                                                                                          µM
                                                                         IC 50    IC 50      IC 50      against    lCso
                                                                          µM       µM         µM        MDA-        µJvl
 Compound                                                              against   against    against      MB-      against
    ID                                 Structure                        PDE5     COX!       COX2          231     HT-29

    26                        Cl                                          7.2    >100       >100          >50     >50




                H03S
                       -0-N'N/7
    27         H3CO                                                       3.1    >JOO       >100         >50      >50
                          ~
                              ll


             HOOC
                    ,,vN-/                                         F




 Celecoxib                                  F                            36.0      23.0        0.5       >50       26.5

                                   F                 F


                                   Np'
                                       \        /J
                                        N




                    09~s
                    H2N
                       l~o

                              celecoxib



                                                                            50
   Compounds according to the present disclosure were                            cer cell line, HT-29 showed that numerous compounds have
tested for their in vitro ability to inhibit recombinant human                   appreciable tumor cell growth activity.
PDE5, COX! and COX2 enzymes at screening doses of 50,                              Compound 4-(3-tert-butyl-5-(2,4-dichlorophenyl)-4,5-di-
100 and 100 µM respectively. The IC 50 was determin ed for                       hydropyrazol-l-yl)benzoic acid ( compound 12) was found to
compounds showing inhibition >50%.                                          55   be a selective inhibitor for PDE5 relative to other cGMP
   The results of the testing are shown in Table l. The partial                  degrading PDE isozymes as shown in Table 2.
saturation to the pyrazoline core resulted in complete loss of
COX2 inhibition but retained or had improved PDE5 activity                                                         TABLE2
compared with celecoxib. Accordingly, the pyrazoline
derivatives of celecoxib are preferred according to the present             60                       PDE5 isozyme selectivity of compound 12.
disclosure. The reduction of the double bond to the pyrazoline
                                                                                          PDE lsozyme                   Substrate         !Cso(µM )
core results in a conformational change in the orientation of
the aryl at position 5, which seems to be an important feature                          PDElA                         cAM P                     >50
for the switch from COX2/COX1 inhibition to PDE5 inhibi-                                                              cGMP                      >50
tion.                                                                       65          PDE2A                         cAM P                     >50
   Testing the synthesized compounds against the human                                                                cGMP                      >50
breast cancer cell line, MDA-MB-231 and the colorectal can-
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                                    23                                                                            24
                                                                                      13
                        TABLE 2-continued                                               C-NMR spectra were recorded at 126 MHz using a
                                                                                         Bruker DRX-126 MHz spectrometer. The solvents used
                 PDES isozyme selectivity of compowtd 12.                                were DMSO-d6 or CDC13 . Chemical shifts are given in
         PDE lsozyme               Substrate               IC 50(µM)                     parts per million (ppm), and all coupling constants (J)
                                                                                         are given in Hz.
         PDE3A                     cAMP                     >50                       4. The purities of the tested compounds were determined
                                   cGMP                     >50
         PDE3B                     cAMP                     >50
                                                                                         by HPLC coupled with mass spectrometry and were all
                                   cGMP                     >50                          higher than 95% purity. Mass spectrometric analysis
         PDE5A                     cGMP                       3.7                        (HPLC-ESI-MS) was performed on a TSQ quantum
         PDE9A                     cGMP                     >50                10        (Thermo Electron Corporation) Instrnment equipped
         PDEIO                     cAMP                     >50
                                   cGMP                     >50
                                                                                         with an ESI source and a triple quadrupole mass detector
         PDE!!                     cAMP                     >50                          (Thermo Finnigan, San Jose, Calif.). The MS detection
                                   cGMP                     >50                          was carried out at a spray voltage of 4.2 kV, a nitrogen
                                                                                         sheath gas pressure of 4.0105 Pa, an auxiliary gas pres-
   Compound 12 was also tested against human tumor cell
                                                                               15        sure of 1.0105 Pa, a capillary temperature of 400° C.,
lines of different origins and showed broad spectrum growth                              capillary voltage of 35 V, and source CID of 10 V. All
inhibitory activity including the adriarnycin resistant cell line,                       samples were injected by autosampler (Surveyor,
ADR/NCl-RES. Thus, compound 12 is able to show broad                                     Thermo Finnigan) with an injection volume of 10 ~LL. A
spectrum tumor cell growth inhibitory activity independent of                            RP Cl8 NUCLEODUR 100-3 (125 mm3 =) column
cyclooxygenase inhibition, whereas PDE5 may be the major                       20        (Macherey-Nagel) was used as stationary phase. The
contributor to such activity.                                                            solvent system consisted of water containing 0.1 % TFA
                                                                                         (A) and 0.1% TFA in acetonitrile (B). HPLC-method:
                               TABLE3                                                    flow rate 400 ~LL/min. The percentage of B started at an
                                                                                         initial of 5%, was increased up to I 00% during 16 min,
   Broad spectntm tumor cell zrowth inhibitory activity of compound 12.        25        kept at 100% for 2 min, and flushed back to 5% in 2 min.
Origin    Cell line      IC 50 (µM) Origin     Cell line            IC,o(µM)
                                                                                         All masses were reported as those of the parent ions.
                                                                                      5. FTIR spectra were recorded on Nicolet Avatar 380 spec-
Hema-     CCFR-CEM         33.1      Breast    T-47D                   63                trometer.
topoietic SR               43                  MDA-MB-231              64.4
          HL-60(TB)                            MDA-MB-468
                                                                                      6. Column chromatography was performed using silica-gel
                           34.5                                        58.5
          K562             33.2                BT-549                  54.7
                                                                               30        70-230 mesh.
          RPMI-8226        23.2                Hs578T                  48.9           7 Reaction progress was monitored by TLC using fluores-
          MOLT-4           20.7                MCF-7                   52.4              cent pre-coated silica gel plates and detection of the
Lung      NCI-H522         50.4      Mel-      UACC-62                 42.3
          NCI-H460         42.9                UACC-257
                                                                                         components was made by short UV light (11.=254 ll111).
                                     anoma                             70
          NCI-H322M        49.8                LOXIMVI                 50.5           8. Reactions were carried out under argon when it was
          NCI-H23          40.6                Ml4                     62.9    35        needed.
          NCI-H226         56.4                MAL ME-3M               65.7
          A549             58                  MDA-MB-435              50.8                                   1.2 Biology
          EKVX             57.2                SK-MEL-2                44.5
          HOP-62           37.4                SK-MEL-28               72.4
          HOP-92           52.8                                                     I Cell Culture
CNS       SNB-75           67 .8     Ovarian OVCAR-5                   59.4    40      The human tumor cell lines were purchased from the
          0251             33.3              OVCAR-8                   45.8         American Type Culture Collection (Mansassas, Va.) and
          SF-268           41.1              OVCAR-4                   54.9
          SNB-19           52.8              OVCAR-3                   37.8
                                                                                    maintained in RPMI-1640+2.0 g/L glucose pH 7.4+5%
          SF-539           52.9              JGROV-1                   59           FBS+4 mM glutamine ( complete growth medium), incubated
          SF-295           45.8              SKOV-3                    87.4         at 37° C. in 5% CO2, and passaged at subconfluent density.
Colon     HCT-15           40.3      Renal   ACHN                      55.3    45   The human fetal colon FHC cells were cultured in DMEM:
          HCT-116          39                U0-31                     55.7
          HCC-2998         41.9              CAK.J -1                  87           Fl2 medium supplemented with 10% FBS, cholera toxin (10
          KMl2             34.7              A498                      33           ng/mL), 5 ug/ml transferrin, 5 ug/ml insulin, and 100 ng/ml
          SW-620           51.8              RXF-393                   46.7         hydrocortisone. The passage number was routinely limited to
          COL0205          31.3              SN12C                     50           approximately 20 and morphology monitored with each pas-
          HT29             29.8              786-0                     46.4
Prostate DU-145            59.6              TK-10                     74      50   sage, but no additional authentication of the cell lines was
          PC-3             55.1      Other   NCI-                      57.2         performed.
                                             ADR/RES                                2. COX Activity
                                                                                       COX-1 and COX-2 activities were measured using purified
                                                                                    ovine COX-1 and COX-2 with colorimetric assay kits
                         EXPERIMENTAL                                          55   obtained from Cayman Chemical Co. (Ann Arbor, Mich.).
                                                                                    The activities ofCOX-1 and COX-2 were measured after the
                            1.1 Chemistry                                           addition of arachidonic acid and incubation at 25° C. for 5
                                                                                    min by absorbance at 590 ll1l1 as specified by the manufac-
  General Experimental Details                                                      turer.
  1. All starting materials and solvents were obtained from                    60   3. Growth Assays
     commercial suppliers, and were used without further                               Cells were plated in 96-well microtiter plates at a density of
     purification.                                                                  5,000 cells per well and allowed to adhere overnight prior to
  2. Melting points were determined on Buchi B-540 Melt-                            treatment. Cells were treated with a 2-log concentration range
     ing Point apparatus and are uncorrected.                                       of either SS or SBA and incubated for an additional 72 hours.
  3. 1H-NMR spectra were recorded at 500 MHz using a                           65   For siRNA assays, cells were transfected in OptiMEM media
     Bruker DRX-500 MHz spectrometer or at 300 MHz                                  with 0.5% SureFECT transfection reagent and 200 nmol/L of
     using Varian Mercury VX-300 MHz spectrometer.                                  either negative control or PDE5 siRNA and incubated at 37°
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                               25                                                                   26
C. for 24 h prior to treatment. At the end of the incubation                                    Example4
period, relative cell viability was compared to vehicle con-
trols using the Cell Titer GloAssay (Pro mega, Madison Wis.),             4-(3-tert-Butyl-5-(2,4-dimethoxyphenyl)-4,5-dihy-
which measures viable cells based on ATP content, according                      dro-I H-pyrazol-1-yl)benzoic acid (4)
to the manufacturer's specifications.
4. PDEActivity                                                          Yield: 58% Yellowish green powder; m.p. 213.5°C., TLC:
   PDE activity was measured using the ]MAP fluorescence              R_r0.35 (CH2 Cl2 :CH3 0H, 100:2)· 1 H-NMR: 6 7.67 (d, 1=8.7
polarization assay (Molecular Devices) in which binding of            Hz, 2H), 6.76 (t, 1=9.0 Hz, 3H), 6.61 (s, I H), 6.41 (d, 1=8.4
hydrolyzed cyclic nucleotide substrate to immobilized metal           Hz, lH), 5.39 (dd, 1=11.8, 4.8 Hz, 1 H), 3.86 (s, 3H), 3. 72 (s,
                                                                 10
coordination complexes increases fluorescence polarization            3H), 3.53 (dd, 1=17 7, 11.9 Hz, IH), 2.64 (dd, 1=17.5, 4.9 Hz,
(FP). Tetramethylrhodamine (TAMRA)-cGMP and fluores-                  lH), 1.17 (s, 9H); IR (cm"): 2800-3200 (-OH), 1660
cein-cAMP were used as substrates, each at final concentra-           (-CO-); MS (ESI): 382.60 (M+) C22H26N204; Purity
tion of 50 1m101/L. The PDE assay was done according to the           (HPLC): 100%.
manufacturer's specifications using either whole cell lysates    15
or recombinant enzymes. FP was measured at excitation,                                          Example 5
emission wavelengths of either 530,590 nm for TAMRA-
                                                                           4-(3-tert-Buty 1-5-( 4-hydroxypheny 1)-4,5-dihydro-
cGMP or 485,530 1llll for fluorescein-cAMP using a Syn-
                                                                                    lH-pyrazol- l -yl )benzoic acid (5)
ergy4 (Biotek) microplate reader.
   The following non-limiting examples further illustrate the    20
                                                                         Yield: 65% white powder; m.p. 259.1° C.; TLC: R_r0.14
disclosure                                                            (CH2Cl2:CH30H, 100:2); 1H-NMR: (6) 7.83 (d, 1=9 Hz, 2H),
                                                                      7.06 (d, 1=8.9 Hz, 2H), 6.9 (d, 1=5.2 Hz, 2H), 6.77 (d, 1=3.4
                           Example 1
                                                                      Hz, 2H), 5.09 (dd, 1=11.7, 5.1 Hz, lH), 3.48 (dd, 1=17.2, 11.7
                                                                      Hz, lH), 2.78 (dd, 1=17.2, 5.09 Hz, lH), 1.22 (s, 9H); JR
     4-(3-tert-Buty 1-5-( 4-methoxyphenyl )-4,5-dihydro-         25   (crn"): 3359.2 (-OH), 2800-3200 (-OH), 1648.7
               l l-l-pyrazol- l -yl)benzoic acid (1)                  (-CO-); MS (ESI): 338.16 (M+) C20 H22N203; Purity
                                                                      (HPLC): 96%.
   Yield: 30% white powder; m.p.: 208.9° C.; TLC: R_r0.78
(CH2Cl2:CH30H, 5:1); 1H-NMR: 6 7.67 (d, 1=9.01, Hz, 2H,                                         Example 6
ArH), 7.12 (d, 1=8.73 Hz, 2H,ArH), 6.84-6.89 (m, 4H,ArH),        30
5.30 (dd, 1=11.66, 5.00Hz, lH, HS), 3.70 (s, 3H, OCH3), 3.55              3-(3-tert-Butyl-5-( 4-chloropheny 1)-4, 5-dihydro-4H-
(dd, 1=17.70, 11 70Hz, lH, H4b), 2.72 (dd, 1=17.70, 5.04 Hz,                         pyrazol-1-y l)benzoic acid (6)
lH, H4a), 1.18 (s, 9H, tBu); 13 C-NMR: 6 27.86, 33-.55, 42.56,
55.00, 61.66, 111.34, 114.33, 118.87, 126.78, 130.70,                  Yield: 61% Faint yellow powder; m.p. 245° C.; TLC:
134.11, 147.83, 158.45, 161.46, 167.26; JR (cm"): 2600-          35 R_r0.38 (CH2Cl2:CH30H, 100:2); 1 H-NMR: 6 7 .70-7 .67 (m,
3200 (-OH), 1660 (-CO-); MS (ESI): 353.22 (M++l),                   2H), 7.41-7.38 (m, 2H), 7.23-7.20 (m, 2H), 6.86-6.83 (m,
351.19 (M+-1) C21H24N203; Purity (HPLC): 96.2%                      2H), 5.40 (dd, J=l l 7, 5.0 Hz, lH), 3.58 (dd, 1=17.8, 11.8 Hz,
                                                                    lH), 2.74 (dd, 1=17.8, 5.0 Hz, lH), 1.18 (s, 9H); 13 C-NMR: 6
                           Example 2                                167.22, 161.52, 147.63, 141.09, 131.91, 130.79, 128.98,
                                                                 40 127.54, 119.18, 111.35, 61.45, 42.36, 33.53, 27.80; JR (cm-
     4-(3-tert-Buty 1-5-( 4-ni tropheny 1)-4 ,5-dihydro- 1 H-       1): 2800-3200 (-OH), 1662.5 (-CO-); MS (ESJ): 356.71
                pyrazol-l-yljbenzoic acid (2)                       (M+), 358.58 (M++2); C20H21C!Np2; Purity (HPLC):
                                                                    100%.
   Yield: 35% yellow powder; m.p. 245.2° C.; TLC: R_r0.81
(CH2Cl2:CH30H, 5:1); 1H-NMR: 6 12.06 (hrs, lH, COOH),            45                             Example 7
8.06 (d, 1=8.78, Hz, 2H, ArH), 7.54 (d, 1=8.94 Hz, 2H, ArH),
7.32 (d, 1=8.78 Hz, 2H,ArH), 6.70 (d, 1=8.89 Hz, 2H, ArH),                4-(5-( 4-Methoxyphenyl)-3-phenyl-4,5-dihydro- l H-
5.42 (dd, 1=1 l.88, 5.14 Hz, lH, HS), 3.50 (dd, 1=17.81, 11.93                       pyrazol-1-yl)benzoic acid (7)
Hz, 1 H, H4b), 2.64 (dd, J=l 7.82, 5.15 Hz, lH, H4a), 1.03 (s,
9H, tBu); 13C-NMR: 6 27.81, 33.58, 42.21, 61.56, 111.42,         50      Yield: 60% Yellow powder; m.p.: 225.8° C., TLC: R_r0.4
119.51, 124.28, 127.06, 130.86, 146.85, 147.52, 149.64,               (CH2 CJ2 :CH3 0H, 100:2); 1H-NMR: 6 7.80-7.77 (m, 2H),
161.60, 167.16; JR (cm:"): 2600-3200 (-OH), 1678                      7.73 (d, 1=9.0 Hz, 2H), 7.47-7.38 (m, 3H), 7.20-7.16 (m, 2H),
(-CO-), 2966 (C-H); MS (ESI): 366.22 (M+-1)                           7.06-7.03 (m, 2H), 6.91-6.87 (m, 2H), 5.57 (dd, 1=12.0, 5.1
C20 H21N3 04 ; Purity (HPLC): 99.81%                                  Hz, lH), 3.93 (dd, 1=17.6, 12.0 Hz, lH), 3.70 (s, 3H), 3.15
                                                                 55   (dd, J=l7.6, 5.l Hz, lH); 13 C-NMR: 6 167.20, 158.57,
                           Example 3                                  149.62, 146.94, 133.70, 131.84, 130.75, 129.23, 128.69,
                                                                      126.95, 126.02, 119.85, 114.41, 111.98, 61.88, 55.01, 42.99;
     4-(3-tert-Buty 1-5-(3-nitropheny 1)-4,5-dihydro- l H-            JR (cm-1): 2800-3200 (-OH), 1669.3 (-CO-); MS (ESJ):
                pyrazol-l-yl )benzoic acid (3)                        372.67 (M+) C23H20 Np3; Purity (HPLC): 100%.
                                                                 60
   Yield: 50%; Yellow powder; m.p. 235.4° C.; TLC: R_r0.36                                      Example 8
(CH2Cl2:CH30H, 100:2); 1H-NMR: 6 8.11 (d, 1=9.5 Hz,
2H), 7.67 (dd, 1=16.8, 7.5 Hz, 4H), 6.89 (d, 1=7.9 Hz, 2H),               4-(3-(2-Methoxyphenyl)-5-(4-methoxyphenyl)-4,5-
5.60 (dd, 1=11.52, 4.69 Hz, lH), 3.65 (dd, 1=17.9, 11 7 Hz,                    dihydro-lH-pyrazol-1-yl)benzoic acid (8)
lH), 2.84 (dd, 1=17.99, 4.40 Hz, lH), 1.19 (s, 9H); JR (cm"):    65
2800-3200 (-OH), 1660 (-CO-); MS (ESl): 367 .65 (M+)                    Yield: 56% Dark yellow powder; m.p. 242.8° C.; TLC:
C20H21N304; Purity (HPLC): 97.6%.                                     R_r0.34 (CH2 Cl2 :CH3 0H, 100:2); 1H-NMR: 6 7.93 (dd,
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                              27                                                                    28
1=7.8, 1 7 Hz, lH), 7.72 (d, 1=9.1 Hz, 2H), 7.41-7.36 (m, lH),         Hz, lH, HS), 3.70 (dd, 1=17 78, 11.89 Hz, I H, H4b), 2.75 (dd,
7.19-7.15 (m, 2H), 7.10-7.07 (m, lH), 7.03-6.99 (m, 3H),               1=12.75, 5.09 Hz, IH, H4a), l.17 (s, 9H, tBu); IR (crn "):
6.91-6.87 (m, 2H), 5.49 (dd, 1=11.9, 5.1 Hz, lH), 3.99 (dd,            1665 (---C=O), 2400-3200 (-OH); MS (EI): 390 (M+), 392
1=18.2, 12.0 Hz, lH), 3.79 (s, 3H), 3.70 (s, 3H), 3.20 (dd,            (M+ +2), 394 (M+ +4) C20H20Cl2N202; Purity (HPLC):
1=18.2, 5.1 Hz, lH); 13C-NMR: 6 167.22, 158.51, 157.47, 5              98.5%.
148.88, 147.07, 133.89, 130.74, 128.31, 126.85, 120.74,
120.67, 119.60, 114.38, 112.35, 111.89, 64.88, 61.77, 55.63,                                   Example 13
54.99, 46.36; IR (cm-1): 2800-3200 (-OH), 1660.4
(-CO-); MS (ESI): 402.63 (M+) C24H22N204; Purity                            4-(3-(tert-Butyl)-5-(3,4-dichloropbenyl)-4,5-diby-
                                                               1                  dro-lH-pyrazol-l-yl)benzoic acid (13)
(HPLC): 92.17%.                                                  0


                          Example 9                                      Yield: 90%, greenish yellow powder; m.p: 216. 7° C.; TLC:
                                                                       R_r<).38 (CH2Cl2:CH30H, 5:1); 1H-NMR: 6 11.99 (s, lH,
    4-(3-(3-Methoxypbenyl)-5-(4-methoxypbenyl)-4,5-                    COOH), 7.68-7.59 (m, lH, ArH), 7.49 (d, 1=2.05 Hz, lH,
         dibydro-lH-pyrazol-J-yl)benzoic acid (9)                 15
                                                                       ArH), 7.14 (d, 1=2.06 Hz, IH, ArH), 7.11 (d, 1=2.06 Hz, 2H,
                                                                       ArH), 6.87-6.84 (m, 2H, ArH), 5.42 (dd, J=l 1.65, 5.02 Hz,
  Yield: 30"/o Yellow powder; m.p. 142.2° C.; TLC: R_r<).38            IH, HS), 3.59 (dd, 1=17.86, 11 77 Hz, lH, H4b), 2.80 (dd,
(CH2Cl2:CH30H, 100:2); 1H-NMR: 6 7 72 (d, 1=9.1 Hz,                    1=17.87, 5.04 Hz, lH, H4a), J.18 (s, 9H, tBu); IR (cm-1):
2H), 7.40-7.36 (m, 3H), 7.20-l.18 (m, 2H), 7.10-6.87 (m,
                                                                  20   1672 (---C=O), 2300-3100 (-OH); MS (EI): 390(M+), 392
SH), 5.60 (dd, 1=11.9, 5.1 Hz, lH), 3.99 (dd, 1=18.2, 12.0 Hz,
                                                                       (M+ +2), 394 (M+ +4) C20H20Cl2N202; Purity (HPLC):
lH), 3.90 (s, 3H), 3.70 (s, 3H), 3.20 (dd, J=l8.2, 5.1 Hz, lH);
                                                                       99.1%.
IR (cm:"): 2800-3200 (-OH), 1660 (-CO-); MS (ESI):
402.63 (M+) C24H22N204; Purity (HPLC): 98.67%.
                                                                                               Example 14
                         Example JO                               25
                                                                            4-( 5-(2-Bromopheny 1)-3-( tert-buty 1)-4,5-dibydro-
    4-(3-(3,4-Dimethoxyphenyl)-5-(4-methoxypbenyl)-                                  lH-pyrazol- l -y l) benzoic acid (14)
      4,5-dibydro-lH-pyrazol-l-yl)benzoic acid (JO)
                                                                          Yield: 74%, yellow powder; imp: 200.2° C.; TLC: R_r0.36
   Yield: 62% Yellow powder; m.p. 140.6° C., TLC: R_r<).3         30   (CH2Cl2:CH30H, 5:1); 1H-NMR: 6 12.00 (s, lH, COOH),
(CH2Cl2:CH30H, 100:2); 1H-NMR: 6 7.72 (d, 1=9.1 Hz,                    7.43 (d, 1=4.02 Hz, lH,ArH), 7.65-7.73 (m, 2H,ArH), 7.29
2H), 7.42 (d, 1=2.0 Hz, lH), 7.23 (dd, 1=8.3, 2.0 Hz, lH),             (d, 1=7.53 Hz, lH, ArH), 7.17-7.15 (m, 2H, ArH), 6.89-6.82
7.19-7.15 (m, 2H), 7.04-6.98 (m, 3H), 6.91-6.87 (m, 2H),               (m, 2H,ArH), 5.39 (dd, 1=11.37, 5.12 Hz, lH, HS), 3.59 (dd,
5.53 (dd, 1=11.9, 5.0 Hz, lH), 3.89 (dd, 1=17.5, 12.0 Hz, lH),         1=17.18, 11 79 Hz, lH, H4b), 2.78 (dd, 1=17.58, 4.59 Hz lH,
3.84 (s, 3H), 3.79 (s, 3H), 3.70 (s, 3H), 3.14 (dd, 1=17.5, 5.0   35   H4a), 1.18 (s, 9H, tBu); IR (cm" '): 1665 (-C-0), 2500-
Hz, lH); 13C-NMR: 6 167.24, 158.54, 150.12, 149.82,                    3100 (-OH); MS (EI): 400 (M+), 402 (M++2)
148.83, 147.05, 133.82, 130.73, 126.90, 124.55, 119.61,                C20H21BrNp2; Purity (HPLC): 97.1%.
119.41, 114.39, 111.77, 111.48, 108.69, 64.88, 61. 73, 55.55,
55.01, 43.21, IR (cm-1): 2800-3200 (-OH), 1665.J                                               Example 15
(-CO-); MS (ESI): 432.50 (M+) C25H24NP5; Purity                   4o
(HPLC): 99.2%.                                                              4-(3-(tert-Butyl)-5-( 4-etboxypheny 1)-4,5-clibydro-
                                                                                    l B-pyrazol- l -y l)benzoic acid (15)
                         Example II
                                                                      Yield: 50"/o, beige powder; m.p: 159.8° C., TLC: R_r<).4
    4-(5-(4-Methoxyphenyl)-3-pbenyl-4,5-dibydro-JH-               45
                                                                   (CH2Cl2:CH30H, 5: l); 1H-NMR: 6 11.82 (s, lH, COOH).
           pyrazol-l-yl)benzenesulfonamide (11)
                                                                   7.67-7.64 (m, 2H, ArH), 7.11-7.08 (m, 2H, ArH), 6.88-6.83
   Yield: 57% Faint yellow powder; m.p.: 1 J0.7° c., TLC:          (m, 4H, ArH), 5.30 (dd, J=J 1.57, 4.97 Hz, lH, HS), 3.97 (q,
R_r<).58(CH2CJ2:CH30H, 100:2);1H-NMR:67.81-7.77(m,                 1=6.96 Hz, 2H, OCH2), 3.56 (dd, 1=17.71, 11.68 Hz, lH,
2H), 7.61-7.57 (m, 2H), 7.47-7.38 (m, 3H), 7.20-7.16 (m, 50 H4b), 2.72 (dd, 1=17.75, 5.01 Hz, lH, H4a), 1.29 (t, 1=6.96
2H), 7.11-7.07 (m, 2H), 6.92-6.88 (m, 2H), 5.58 (dd, 1=12.0,       Hz, 3H, CH3), 1.19 (s, 9H, tBu); IR (cm:"): 1658 (-C=O),
5.1 Hz, lH), 3.94 (dd, 1=17.6, 12.0 Hz, lH), 3.70 (s, 3H), 3.16    2700-3200 (-OH); MS (EI): 366 (M+) C22H26N203; Purity
(dd, 1=17.6, 5.2 Hz, lH); 13C-NMR: 6 158.58, 149.57,               (HPLC): 98.5%.
145.86, 133.47, 132.97, 131.82, 129.24, 128.69, 127.06,
126.99, 126.01, 114.41, 112.01, 61.86, 55.01, 42.96; IR 55                                      Example 16
(cm" '): 3314.5, 3264.1 (-NH2); MS (ESI): 407.62 (M+)
C22H21N303S; Purity (HPLC): 100"/o.                                      4-( 5-(3-Bromopbeny 1)-3-( tert-buty 1)-4,5-dibydro-
                                                                                     l H-pyrazol- l -y l) benzoic acid (16)
                            Example 12
                                                                60     Yield: 43%, yellow powder; m.p: 215.5° C.; TLC: R_r<).43
     4-(3-( tert -Buty 1)-5-(2, 4-dichloropbeny 1)-4,5-diby-       (CH2Cl2:CH30H, 5:1); 1H-NMR: 6 11.99 (s, lH, COOH),
            dro- lH-pyrazol- l -yl )benzoic acid (I 2)             7.71 (cl, 1=1.26 Hz, 2H,ArH), 7.31 (d, 1=1.35 Hz, lH,ArH),
                                                                   7 .25 ( cl, 1= 1.89 Hz, IH, ArH), 7 .22 ( d, 1= 1.81 Hz, lH, ArH),
   Yield: 40%, off-white powder; m.p. 213.4° C.; TLC:              7.20-7.19 (m, lH,ArH), 6.94 (d, J=7.35 Hz, lH,ArH), 6.77-
R_r<).38; 1H-NMR: 6 11.82 (s, lH, COOH), 7 75-7.68 (m, 65 6.72 (m, IH,ArH), 5.50 (dd, 1=11.79, 5.Q7 IH, HS), 3.71 (dd,
2H, ArH), 7.39-7.32 (=, lH,ArH), 6.96 (d, 1=8.42 Hz, 2H,           1=17.77, 11.85 Hz, IH, H4b), 2.70 (dd 1=17.81, 5.13 Hz, lH,
ArH), 6.77 (d, 1=8.10 Hz, 2H, ArH), 5.54 (dd, 1=11.84, 5.09        H4a), J.18 (s, 9H, tBu); IR (cm'): 1672 (-C=O ), 2700-
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                                29                                                                          30
3200 (-OH); MS (EI): 400 (M+),                      402    (M++2)           (-C=O) 2700-3200 (-OH); MS                      (EI):   366   (M+)
C 20 H21BrN2 0 2 ; Purity (HPLC): 99.5%.                                    C 22I-I 26N 20 3; Purity (!-!PLC): 95.5%.

                           Example 17                                                                  Example 21

                                                                                4-(3-tert-Butyl-5-( 4-cWorophenyl)-4,5-dihydro- l H-
      4-(3-(tert- Bury 1 )-5-(2-chloropheny 1)-4,5-dihydro-                                pyrazol-1-yl)benzoic acid (21)
              l I-1-pyrazol-J-yl)benzoic acid (17)
                                                                               Yield: 41% white crystals; m.p .. 208.5° C.; TLC: R_r().81
   Yield: 47%, orange crystals; m.p: 229.2° C., TLC: R_r().45          io   (CH2Cl2:CH30H, 5:1); 11-I-NMR: Ii 12.26 (hrs, 11-1, COOH),
(CH2Cl2:Cl-!30H, 5: l ); 1I-I-NMR: Ii l J.66 (s, ll-1, COOF·I),             7 74 (d, 1=8.91 Hz, 21-1, Ari-I), 7.45 (d, J=8.46, Hz, 21-1, Ari-I),
7.71 (d, 1=8.95 Hz, JI-I, Ari-I), 7.51 (d, 1=1 .41 Hz, JI-I, Ari-I),        7.27 (d, J=8.48 Hz, 2H, Ari-I), 6.90 (d, 1=8.87 Hz, 2H, ArH),
7.54 (d, 1=1 71 Hz, JH,ArH), 6.99 (d, 1=1.95 Hz, JH,Arl-I),                 5.45 (dd, J=J 1.73, 4.97 Hz, l 1-1, HS), 3.64 (dd, J=l 7.75, I J .80
6.97 (d, 1=2.03 Hz, 2H Arl-1), 6.77 (d, J=8.91 Hz, 21-I, Ari-I),            Hz, JH, H4b), J 80 (dd, 1=17.75, 5.03 Hz, lH, H4a), Ii 1.2 (s,
5.56 (dd, 1=11 .87, 5.22 Hz, JH, HS) 3.70 (dd, J=l 7.78, 11.88         15
                                                                            9H, tBu); 13 C-NMR: 627.82, 33.54, 42.36, 61 .45, 111.36,
Hz, I H, H4b), 2.74 (dd, J=l 7.55, 5.66 Hz, I H, H4a), 1.17 (s,             119.20, 127.54, 128.97, 130.78, 131.90, 141.09, 147.63,
9H, tBu); IR (cm:"): 1666 (-C=O), 2700-3200 (-OH);                          161.52, 167.21, IR (crn""): 2600-3200 (-OH), 1665
MS (EI): 356 (M+), 358 (M+ +2); C 20H21 C!Np 2; Purity                      (-CO-); MS (ES!): 357.17 (M+), 355.05 (M+-2)
(HPLC): 96.6%.                                                              C20 H21CIN 20 2; Purity (HPLC): 100%
                                                                       20

                           Example 18                                                                  Example 22

                                                                                4-(3-tert-Butyl-5-phenyl-4,5-dihydro-l H-pyrazol-1-
    4-(3-(tert-Butyl)-5-(2-fluorophenyl)-4,5-dihydro- l H-                                      yl)benzoic acid (22)
                pyrazol-1-yl)benzoic acid (18)                         25
                                                                              Yield: 38% white powder; m.p. 233.3° C.; TLC: R_r().77
                                                                                                     1
   Yield: 70%, beige powder; m.p: 224.6° C., TLC: R_r().52                 (CH2 Cl2 :CH3 0H, 5:1); H-NMR : Ii 12.00 (brs, I H, COOH),
(CH2Cl2:CH30H, 5:1); 1H-NMR: Ii 12.12 (s, JH, COOH),                       7.55 (d, 1=8.92 Hz, 2H), 7.21 (t, 1=7.54, 7.54 Hz, 2H), 7.13 (t,
7.09 (d, J=l.87 Hz, JH, Ari-I), 7.06 (d, J=l.75 Hz, JH, Ari-I),            1=7.37, 7.37 Hz, JI-I), 7.10-7.07 (m, 2H), 6.74 (d, J=8.87 Hz,
7.72-7.67 (m, 2H, Ari-I), 7.24 (d, J=l.08 Hz, lH, ArH), 7.13           3 o 2H), 5.24 (dd, J=l l.75, 5.12 Hz, JI-I, HS), 3.48 (dd, J=17.72,

(d, J=l.06 Hz, JH, Ari-I), 6.84 (d, J=8.88 Hz, 2H, Ari-I), 5.54            l 1.79 Hz, JH, H4b), 2.63 (dd, J=J 7 75, 5.15 Hz, lH, H4a),
                                                                                               13
(dd,J=ll.89,4.991-Iz, JH,H5),3.64(dd,J=I7.72, Jl.841-Iz,                   1.06 (s, 9H, tBu); C-NMR: Ii 27.85, 33.54, 42.57, 62.17,
JH, H4b ), 2.82 (dd, 1=17.81, 4.93 Hz, JH, H4a), 1.19 (s, 9H,              111.30, 118.96, 125.54, l 27 .38, l 28.98, 130.73, 142.22,
tBu); IR (cm"): 1672 (-C=O ), 2600-3200 (-OH); MS                          147.81, 161.46, 167.23; IR (cm): 2500-3200 (-OH), 1659
                                                                       35
(EI): 340 (M+); C 20H,1FN 202; Purity (HPLC): 97.5%.                       (-CO-); MS (ESI): 323.23 (M++J), 321.26 (M+-1)
                      -                                                    C20 H22N 20 2; Purity (HPLC): 98.84%

                           Example 19                                                                  Example 23

                                                                       40       4-(3-tert-Butyl-5-p-toly 1-4,5-dihydro-J H-pyrazol-1-
   4-(3-(tert-Buty 1)-5-(3-fluoropheny 1)-4,5-dihydro- J H-
               pyrazol-l-y I) benzoic acid (19)                                                 yl)benzoic acid (23)

                                                                     Yield: 35% yellow powder; m.p.: 194.6° C.; TLC: R_r().8
   Yield: 53%, beige powder; m.p: 218.5° C.; TLC: R_r().62
                         1                                        (CH2 Cl2 :CH3 0H, 5:1); 11-I-NMR: Ii 12.16 (brs, 11-I, COOH),
(CH2 Cl2 :CH3 0H, 5:1); 1-I-NMR: Ii l 1.76 (s, JH, COOH); 45
                                                                  7.67 (d, J=8.53 Hz, 21-I,ArH), 7.14 (d, 1=7.91, Hz, 21-I,ArH),
7 73-7.64 (m, 2H, Ari-I), 7.40 (d, J=J.79 Hz, JH, Ari-I), 7.37
                                                                  7.09 (d, J=7.9 Hz, 2H, Ari-I), 6.86 (d, J=8.64 Hz, 2H, Ari-I),
(d, 1=2.00 Hz, JH, Ari-I), 7.08 (d, 1=1.97 Hz, JH, Ari-I),
                                                                  5.32 (dd, 1=11.66, 4.99 Hz, JH, HS), 3.58 (dd, J=J 7.68, 11.82
6.90-6.80 (m, 31-I,ArH), 5.40 (dd, J=J l 77, 5.16 Hz, JH, HS),
                                                                  Hz, JH, H4b), 2.73 (dd, J=l7.98, 4.76 Hz, 11-I, H4a), 2.25 (s,
3.60 (dd, 1=17.81, l J.78 Hz, JH, H4b), 2.78 (dd, 1=17.79,
                                                                  3H, CI-13), l.19 (s, 9I-I, tBu); 13 C-NMR : Ii 20.59, 27.83,
5.18 Hz, JH, H4a), J.19 (s, 9H, tBu); IR (cm" '): 1616
                                                               50 33.54, 42.53, 55.00, 61 .93, 1 J J .29, 118.87, 125.46, 129.52,
(-C=O ), 2700-3200 (-OH); MS (EI): 340 (M+)
                                                                  130.70, 136.53, 147.80, 161.44, 167.25; IR (cm"): 2500-
C 20 H21FN 202; Purity (HPLC): 97.5%.
                                                                  3200 (-OH), 1666 (-CO-); MS (ES!): 337.22 (M++J),
                                                                  335.24 (M+-1) C 21H 24N 20 2; Purity (HPLC): 98.81%.
                         Example20
                                                               55                          Example 24

     4-(3-(tert-Butyl)-5-(2-ethoxyphenyl)-4,5-dihydro-                          4-(5-( 4-Bromophenyl)-3-tert-butyl-4,5-dihydro- J H-
             JH-pyrazol-J-yl)benzoic acid (20)                                             pyrazol-1-yl)benzoic acid (24)

   Yield: 63%, greenish yellow powder; m.p: 213.4° C.; TLC:            60      Yield: 32% yellow crystals; m.p.: 222.2° C.; TLC: Rf0.77
R_r().52 (CH2 Cl2 :CHPH, 5:1); 11-I-NMR: Ii 12.00 (s, 11-I,                 (CH2 Cl2 :CH3 0H, 5:1); 11-I-NMR : Ii 12.19 (brs, lH, COOH),
COOH), 7.19 (d, J=2.30 Hz, JH, Ari-I), 7.67 (d, J=8.85 Hz,                  7.69 (d, 1=8.98 Hz, 21-I,ArH), 7.54 (d, J=8.46, Hz, 21-I,ArH),
2H, Ari-I), 6.85-6.76 (m, lH, Ari-I), 6.85 (d, J=2.06 Hz, 2H,               7.16 (d, J=8.47 Hz, 2H, Ari-I), 6.85 (d, J=8.90 Hz, 2H, Ari-I),
Ari-I), 6.78 (d, 1=8.86 Hz, 2H, Ari-I), 5.48 (dd, 1=11 .89, 5.40            5.39 (dd, J=J J.75, 4.99 Hz, lH, HS), 3.60 (dd, J=J 7.76, 11.78
Hz, lH, HS), 4.19-4.08 (m, 2HOCH3), 3.59 (dd, J=l776,                  65   Hz, lH, H4b), 2.76 (dd, J=J 7 75, 5.01 Hz, lH, H4a), J.J 9 (s,
11.89 Hz, JH, H4b), 2.68 (dd, 1=17.75, 5.41 Hz, JH, H4a),                   9H, tBu); 13 C-NMR : Ii 27.82, 33.54, 42.30, 61.50, 1 J 1.35,
1.39 (t, J=6.94, 3H, CI-12), J.18 (s, 9H, tBu); IR (cm" '): 1665            119.20, 120.42, 127.90, 130.79, 131.84, 141.51, 147.62,
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161.53, 167.20; IR (cm "): 2540-3200 (-OH), 1664                    icity under the conditions of use. The pharmaceutically
(-CO-); MS (ESI): 398.99 (M+-2), 401.04 (M+) C20 H2,                acceptable carriers can include polymers and polymer matri-
BrNp2; Purity (HPLC): 98.62%.                                       ces.
                                                                       The choice of carrier will be determined in part by the
                           Example 25                             5 particular method used to administer the composition.
                                                                    Accordingly, there is a wide variety of suitable formulations
     4-(3-tert- Butyl-5-( 4-fluoropbenyl )-4, 5-dibydro- l H-       of the pharmaceutical composition of the present invention.
            pyrazol-1-y l)benzenesulfonic acid (25)                 The following fonuulations for oral, aerosol, parenteral, sub-
                                                                    cutaneous, intravenous, intraarterial, intramuscular, intrap-
   Yield: 25% yellow crystals; m.p. 92.9° C., TLC: R,r0.35 10 eritoneal, intrathecal, rectal, and vaginal administration are
(CH2Cl2:CH30H, 5:1); 1H-NMR: o 7.65-7 73 (m, 4H,ArH),               merely exemplary and are in no way limiting.
                                                                       Formulations suitable for oral administration can consist of
7.6 (d, J=8.57 Hz, 2H ArH), 6.75 (d J=S.59 Hz, 2H, ArH),
                                                                    (a) liquid solutions, such as an effective amount of the com-
5.28 (dd, J=ll .65, 5.76 Hz, 1 H, HS), 3.53 (dd, J=I 7.49, 11.69
                                                                    pound dissolved in diluents, such as water, saline, or orange
Hz, lH, H4b), 2.69 (dd, J=l 7.51, 5.81 Hz, lH, H4a), 1.17 (s,
                                                                 15 juice; (b) capsules, sachets, tablets, lozenges, and troches,
9H, tBu); C-NMR: o 27.91, 33.43, 62.09, 67.39, 111.19,
            13
                                                                    each containing a predetermined amount of the active ingre-
115.51, 115.68, 124.06, 127.59, 128.63, 131.70, 146.82,             dient, as solids or granule; (c) powders; (d) suspensions in an
161.73; IR (cm'"): 3000-3300 (-OH), 1040, 1180 (-S02);              appropriate liquid; and (e) suitable emulsions. Liquid formu-
MS (ESI): 375.l (M++l) C20 H21FN202; Purity (HPLC):                 lations may include diluents, such as water, cyclodextrin,
93.20%.                                                          20 dimethyl sulfoxide and alcohols, for example, ethanol, benzyl
                                                                    alcohol, propylene glycol, glycerin, and the polyethylene
                           Example 26                               alcohols including polyethylene glycol, either with or with-
                                                                    out the addition of a pharmaceutically acceptable surfactant,
     4-(3-tert-Butyl-5-( 4-cWoropbenyl)-4,5-dihydro- l H-           suspending agent, or emulsifying agent. Capsule forms can
            pyrazol-1-yl)benzenesulfonic acid (26)               25 be of the ordinary hard- or soft-shelled gelatin type contain-
                                                                    ing, for example, surfactants, lubricants, and inert fillers, such
   Yield: 27% white crystals; m.p. 92.5° C., TLC: R,r0.36           as lactose, sucrose, calcium phosphate, and com starch. Tab-
(CH2Cl2:CH30H, 5:1); 1H-NMR: o 7.34 (d, 1=8.84 Hz, 2H,              let forms can include one or more of the following: lactose,
ArH), 7.37 (d, J=8.53 Hz, 2H,ArH), 7.22 (d, J=8.48 Hz, 2H),         sucrose, mannitol, com starch, potato starch, alginic acid,
6.74 (d, J=8.83 Hz, 2H), 5.28 (dd, J=l 1.69, 5.80 Hz, lH, HS), 30 microcrystalline cellulose, acacia, gelatin, guar gum, colloi-
3.54 (dd, 1=17.53, 11.74 Hz, lH, H4b), 2.69 (dd, J=l7.52,           dal silicon dioxide, croscarmellose sodium, talc, magnesium
5.83 Hz, lH, H4a), 1.2 (s, 9H, tBu); 13 C-NMR: o 27.91,             stearate, calcium stearate, zinc stearate, stearic acid, and other
30.29, 42.28, 62.14, 111.17 126.42, 127. 70, 128.83, 131 .70,       excipients, colorants, diluents, buffering agents, disintegrat-
137.93, 141.40, 144.93, 159.57; IR (cin"): 3000-3600                ing agents, moistening agents, preservatives, flavoring
(-OH), 1022 1169 (-S02-); MS (ESI): 391.14 (M+-2), 35 agents, and pharmacologically compatible carriers. Lozenge
393.03 (M+) C20H21ClN202; Purity (HPLC): 100%.                      forms can comprise the active ingredient in a flavor, usually
                                                                    sucrose and acacia or tragacanth, as well as pastilles compris-
                           Example 27                               ing  the active ingredient in an inert base, such as gelatin and
                                                                    glycerin, or sucrose and acadia, emulsions, and gels contain-
                                                                 40 ing, the addition to the active ingredient in an inert base, such
      4-(3-( 4- Fluoropheny 1)-5-( 4-methoxyphenyl)-4,5-
                                                                    as gelatin and glycerin, or sucrose and acadia, emulsions, and
            dihydropyrazol- l -y l) benzoic acid (27)
                                                                    gels containing, in addition to the active ingredient, such
                                                                    carriers as are known in the art.
   Yield: 41% white crystals; m.p. 218.5° C.; TLC: R,r0.61             The derivatives of celecoxib alone or in combination with
(CH2Cl2:CH30H, 5:1); H-NMR: o 12.16 (hrs, lH, COOH), 45 other suitable components, can be made into aerosol formu-
                           1

7.74-7.60 (m, 4H, ArH), 7.50-7.40 (m, 4H, ArH), 7.27 (d,            lations to be administered via inhalation. These aerosol for-
J=8.40Hz, 2H,ArH), 6.95 (d, J=8.87 Hz, 2H,ArH), 5.40 (dd,           mulations can be placed into pressurized acceptable propel-
J=l l.73, 4.97 Hz, lH, HS), 3.60 (dd, J=l 7.75, 11.80 Hz, lH,       lants, such as dicWorodifluoromethane, propane, and
H4b), 3.72 (S, 3H, --CH3), 2.80 (dd, 1=17.75, 5.03 Hz, lH,          nitrogen. They also may be formulated as pharmaceuticals for
H4a); 13 C-NMR: o 27 .82, 33.54, 42.36, 61.45, 111.36, 50 non-pressured preparations, such as in a nebulizeror an atom-
119.20, 127.54, 128.97, 130.78, 131.90, 141.09, 147.63,             izer.
161.52, 167.21; IR (cm "): 2600-3200 (-OH), 1665                       Formulations suitable for parenteral administration
(-CO-); MS (ESI): 390.32 (M+) C23 H19 FN2 03 ; Purity               include aqueous and non-aqueous, isotonic sterile injection
(HPLC): 99.0%.                                                      solutions, which can contain anti-oxidants, buffers, bacteri-
   In keeping with the present disclosure, the derivatives of 55 ostats, and solutes that render the formulation isotonic with
celecoxib can be used alone or in appropriate association, and      the blood of the intended recipient, and aqueous and non-
also may be used in combination with pharmaceutically               aqueous sterile suspensions that can include suspending
acceptable carriers and other pharmaceutically active com-          agents, solubilizers, thickening agents, stabilizers, and pre-
pounds such as various cancer treatment drugs including             servatives. The compound can be administered in a physi-
NSAIDs and/or along with radiation. The active agent may be 60 ologically acceptable diluent in a pharmaceutical carrier,
present in the pharmaceutical composition in any suitable           such as a sterile liquid or mixture ofliquids, including water,
quantity.                                                           saline, aqueous dextrose and related sugar solutions, an alco-
   The pharmaceutically acceptable carriers described herein,       hol, such as ethanol, isopropanol, or hexadecyl alcohol, gly-
for example, vehicles, adjuvants, excipients, or diluents, are      cols, such as propylene glycol or polyethylene glycol such as
well-known to those who are skilled in the art. Typically, the 65 poly(ethyleneglycol) 400, glycerol ketals, such as 2,2-dim-
pharmaceutically acceptable carrier is chemically inert to the      ethyl-1,3-dioxolane-4-methanol, ethers, an oil, a fatty acid, a
active compounds and has no detrimental side effects or tox-        fatty acid ester or glyceride, or an acetylated fatty acid glyc-
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 eride with or without the addition of a pharmaceutically                 sucrose and acacia or tragacanth; pastilles comprising the
 acceptable surfactant, such as a soap or a detergent, suspend-           active ingredient in an inert base, such as gelatin and glycerin,
 ing agent, such as pectin, carbomers, methylcellulose,                   or sucrose and acacia; and mouthwashes comprising the
 hydroxypropylmethylcellulose, or carboxymethylcelluslose,               active ingredient in a suitable liquid carrier; as well as creams,
 or emulsifying agents and other pharmaceutical adjuvants.          5     emulsions, and gels containing, in addition to the active ingre-
     Oils, which can be used in parenteral formulations include          dient, such carriers as are known iu the art.
 petroleum, animal, vegetable, or synthetic oils. Specific                   Additionally, formulations suitable for rectal administra-
 examples of oils include peanut, soybean, sesame, cotton-                tion may be presented as suppositories by mixing with a
 seed, corn, olive, petrolatum, and mineral. Suitable fatty acids        variety of bases such as emulsifying bases or water-soluble
 for use in parenteral formulations include oleic acid, stearic     10
                                                                          bases. Formulations suitable for vaginal administration may
 acid, and isostearic acid. Ethyl oleate and isopropyl myristate
                                                                          be presented as pessaries, tampons, creams, gels, pastes,
 are examples of suitable fatly acid esters. Suitable soaps for
                                                                         foams, or spray formulas containing, in addition to the active
 use in parenteral formulations include fatty alkali metal,
 ammonium, and triethanolarnine salts, and suitable deter-                ingredient, such carriers as are known in the art to be appro-
 gents include (a) cationic detergents such as, for example.        15
                                                                         priate.
 dimethyldialkylammonium halides, and alkylpyridinium                        One skilled in the art will appreciate that suitable methods
 halides, (b) anionic detergents such as, for example, alkyl,            of exogenously administering a compound of the present
 aryl, and olefin sulfonates, alkyl olefin, ether, and monoglyc-         disclosure to an animal are available, and, although more than
 eride sulfates, and sulfosuccinates, ( c) nonionic detergents           one route can be used to administer a particular compound, a
 such as, for example, fatty amine oxides, fatty acid alkanola-     20   particular route can provide a more immediate and more
 mides, and polyoxyethylene polypropylene copolymers, (d)                effective reaction than another route.
 amphoteric detergents such as, for example, alkyl ~-amino-                  The present disclosure further provides a method of treat-
 propionates, and 2-a!J...-ylimidazoline quaternary ammonium             ing cancer in a mammal, especially humans. The method
 salts, and (e) mixtures thereof.                                        comprises administering an effective treatment amount of a
    The parenteral formulations typically contain from about        25   derivative of celecoxib disclosed above to the manunal.
 0.5% to about 25% by weight of the active ingredient in                     As regards these applications, the present method includes
 solution. Suitable preservatives and buffers can be used in             the administration to an animal, particularly a mammal, and
 such formulations. In order to minimize or eliminate irritation         more particularly a human, of a therapeutically effective
 at the site of injection, such compositions may contain one or          amount of the compound effective in the inhibition of neo-
more nonionic surfactants having a hydrophile-lipophile bal-        30   plasia and tumor growth and treating maliguant disease
ance (HLB) of from about 12 to about 17 The quantity of                  including metastases, especially co lo rectal and breast cancer.
surfactant in such formulations ranges from about 5% to                  The method also includes the administration of a therapeuti-
about 15% by weight. Suitable surfactants include polyeth-               cally effect amount of the compound for the treatment of
ylene sorbitan fatty acid esters, such as sorbitan monooleate            precancerous lesions such as adenomatous polyps of the
and the high molecular weight adducts of ethylene oxide with        35   colon and other dysplastic lesions of the skin (actinic keraro-
a hydrophobic base, fanned by the condensation of propylene              sis), bladder, cervix, esophagus, oral cavity, lung, prostate
oxide with propylene glycol.                                             and breast that are sometimes referred to as intraepithelial
    Pharmaceutically acceptable excipients are also well-                neoplasia.
known to those who are skilled in the art. The choice of                     The disclosed compounds and compositions can be admin-
excipient will be determined in part by the particular com-         40   istered to treat a number of cancers, including leukemias and
pound, as well as by the particular method used to administer            lymphomas such as acute lymphocytic leukemia, acute non-
the composition. Accordingly, there is a wide variety of suit-           lymphocytic leukemias, chronic lymphocytic leukemia,
able formulations of the pharmaceutical composition of the               chronic myelogenous leukemia, Hodgkin's Disease, non-
present disclosure. The following methods and excipients are             Hodgkin's lymphomas, and multiple myeloma, childhood
merely exemplary and are in no way limiting. The pharma-            45   solid tumors such as brain tumors, neuroblastoma, retinoblas-
ceutically acceptable excipients preferably do not interfere             toma, Wilms Twnor, bone tumors, and soft-tissue sarcomas,
with the action of the active ingredients and do not cause               common solid tumors of adults such as lung cancer, breast
adverse side-effects. Suitable carriers and excipients include           cancer, prostate cancer, urinary cancers, uterine cancers, oral
solvents such as water, alcohol, and propylene glycol, solid             cancers, pancreatic cancer, melanoma and other skin cancers,
absorbants and diluents, surface active agents, suspending          50   stomach cancer, ovarian cancer, brain tumors, liver cancer,
agent, tableting binders, lubricants, flavors, and coloring              laryngeal cancer, thyroid cancer, esophageal cancer, and tes-
agents.                                                                  ticular cancer.
    The formulations can be presented in unit-does or multi-                 The present disclosure also relates to treating certain
dose sealed containers, such as ampules and vials, and can be            chronic inflammatory conditions which NSAIDs have shown
stored in a freeze-dried (lyophilized) condition requiring only     55   benefit, but may be contraindicated due to cyclooxygenase
the addition of the sterile liquid excipient, for example, water,        inhibition (i.e.-inflanunatory bowel disease) or do not
for injections, inunediately prior to use. Extemporaneous                appear to require cyclooxygenase inhibition for efficacy such
injection solutions and suspensions can be prepared from                 as certain neurodegenerative diseases, includingAlzbeimer' s
sterile powders, granules, and tablets. The requirements for             disease. Still there are additional disease indications that ben-
effective pharmaceutical carriers for injectable compositions       60   efit from treatment with NSAIDs, which can also be treated or
are well known to those of ordinary skill in the art. See                prevented with compounds described in the present disclo-
Pharmaceutics and Pharmacy Practice, J.B. Lippincott Co.,                sure.
Philadelphia, Pa., Banker and Chalmers, Eds., 238-250                        The dose administered to an animal, particularly a human,
(1982) andASHP Handbook on Injectable Drugs, Toissel, 4th                in the context of the present invention should be sufficient to
ed., 622-630 (1986).                                                65   affect a therapeutic response in the animal over a reasonable
    Formulations suitable for topical administration include             time frame. One skilled in the art will recognize that dosage
lozenges comprising the active ingredient in a flavor, usually           will depend upon a variety of factors including the condition
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of the animal, the body weight of the animal, as well as the        only the preferred embodiments but, as mentioned above, it is
severity and stage of the cancer.                                   to be understood that it is capable to use in various other
   A suitable dose is that which will result in a concentration     combinations, modifications, and environments and is
of the active agent in tumor tissue which is known to affect the    capable of changes or modifications within the scope of the
desired response. The preferred dosage is the amount which 5 invention concepts as expressed herein, commensurate with
results in maximum inhibition of cancer, without unmanage-          the above teachings and/or the skill or knowledge of the
able side effects.                                                  relevant art. The embodiments described herein above are
   The total amount of the compound oft he present disclosure       further intended to explain best modes known by applicant
administered in a typical treatment is preferably between           and to enable others skilled in the art to utilize the disclosure
about 10 mg/kg and about 1000 mg/kg of body weight for 10 in such, or other, embodiments and with the various modifi-
mice, and between about 100 mg/kg and about 500 mg/kg of            cations required by the particular applications oruses thereof.
body weight, and more preferably between 200 mg/kg and              Accordingly, the description is not intended to limit the inven-
about 400 mg/kg of body weight for humans per daily dose.           tion to the form disclosed herein. Also, it is intended to the
This total amount is typically, but not necessarily, adminis-       appended claims be construed to include alternative embodi-
tered as a series of smaller doses over a period of about one 15 ments.
time per day to about three times per day for about 24 months,         All publications and patent applications cited in this speci-
and preferably over a period of twice per day for about 12          fication are herein incorporated by reference, and for any and
months.                                                             all purposes, as if each individual publication or patent appli-
   The size of the dose also will be determined by the route,       cation were specifically and individually indicated to be
timing and frequency of administration as well as the exist- 20 incorporated by reference. In the event of an inconsistency
ence, nature and extent of any adverse side effects that might      between the present disclosure and any publications or patent
accompany the administration of the compound and the                application incorporated herein by reference, the present dis-
desired physiological effect. lt will be appreciated by one of      closure controls.
skill in the art that various conditions or disease states, in
particular chronic conditions or disease states, may require 25                               REFERENCES
prolonged treatment involving multiple administrations.
   The method disclosed comprises further administering of             Heron M. Deaths: leading causes for 2007. Natl Vital Stal
chemotherapeutic agent other than the derivatives of the               Rep. 2011, 59, 1-95.
present invention. Any suitable chemotherapeutic agent can          2. Bayes M, Rabasseda X, Prous J R. Gateways to clinical
be employed for this purpose. The chemotherapeutic agent is 30         trials. Methods Find Exp Clin Pharmacol. 2006, 28, 121-
typically selected from the group consisting of alkylating             42.
agents, antimetabolites, natural products, anti-inflammatory        3. Arifin DY, Lee KY, Wang CH. Chemotherapeutic drug
agents, hormonal agents, molecular targeted drugs, anti-an-            transport to brain tumor. J Control Release. 2009, 137,
giogenic drugs, and miscellaneous agents.                              203-10.
   Examples of alkylating chemotherapeutic agents include 35 4. Stoehlmacher J, Lenz HJ. Cyclooxygenase-2 inhibitors in
carmustine, cWorambucil, cisplatin, lomustine, cyclophos-              coloreclal cancer. Semin Oncol. 200, 30 (3 Suppl 6), 10-6
phamide, melphalan, mecWorethamine, procarbazine,                   5. TinsleyH N, GaryB D, Keeton AB, ZhangW,AbadiA H,
thiotepa, uracil mustard triethylenemelamine, busulfan,                Reynolds R C, Piazza G A. Sulindac sulfide selectively
pipobroman, streptozocin, ifosfamide, dacarbazine, carbopl-            inhibits growth and induces apoplosis of human breast
atin, and hexamethylmelamine.                                    40    /11111or cells by phosphodiesterase 5 inhibition, elevation of
    Examples of chemotherapeutic agents that are antimetabo-           cyclic GMP, and activation of'protein kinase G. Mo! Can-
lites include cytosine arabinoside fluorouracil, gemcitabine,          cer Ther, 2009, 8, 3331-40.
mercaptopurine, methotrexate, thioguanine, floxuridine, flu-        6. Tinsley H N, Gary B D, Thaipararnbil J, Li N, Lu W, Li Y,
darabine, and cladribine.                                              Maxuitenko YY, Keeton AB, Piazza GA. Colon tumor cell
    Examples of chemotherapeutic agents that are natural 45            growth-inhibitory activity of sulindac sulfide and other
products include actinomycin D, bleomycin, camptothecins,              nonsteroidal anti-inflammatory drugs is associaled with
daunomycin, doxorubicin, etoposide, mitomycin C, pacli-                phosphodiesterase 5 inhibition. Cancer Prev Res (Phila.).
taxel, taxoteredocetaxel, tenisposide, vincristine, vinblastine,       2010, 3, 1303-13.
vinorelbine, idarubicin, mitoxantrone, mithramycin and              7 Whitehead CM, Earle KA, Fetter J, Xu S, Hartman T, Chan
deoxycoformycin.                                                 50    D C, Zhao T L, Piazza G, Klein-Szanto A J, Pamukcu R,
   Examples of hormonal agents include estrogen receptor               Alila H, Bunn PA Jr, Thompson W J. Exisulind-induced
antagonists such as tamoxifen and fluvestrant, aromatase               apoptosis in a non-small cell lung cancer orthotopic lung
inhibitors such as anastrozole, androgen receptor antagonists          tumor model augments docetaxel treatment and contrib-
such as cyproterone and flutamine, as well as gonadotropin             utes to increased survival. Mo! Cancer Tuer. 2003, 2, 479-
release hormone agonists such as leuprolide. Examples of 55            88
anti-inflammatory drugs include adrenocorticoids such as            8. Klein T, Eltze M, Grebe T, Hatzelmann A, Komhoff M.
prednisone, and nonsteroidal anti-inflammatory drugs such              Celecoxib dilates guinea-pig coronaries and rat aortic rings
as sulindac or celecoxib. Examples of molecular targeted               and amplifies NO/cGMP signaling by PDE5 inhibition
drugs include monoclonal antibodies such as rituximab,                 Cardiovasc Res. 2007, 75, 390-7.
cetuximab, trastuzumab and small molecules such as ima- 60
tinib, erlotinib, ortizumib. Examples of anti-angiogenic drugs         What is claimed is:
include thalidomide and bevacizimab, Examples of the afore-            l. The compound 4-(3-tert-butyl-5-(2,4-dichlorophenyl)-
said miscellaneous chemotherapeutic agents include mito-            4,5-dihydropyrazol-l-yl)benzoic acid and pharmaceutically
tane, arsenic trioxide, tretinoin, thalidomide, levamisole,         acceptable salts thereof, prodrugs and solvates thereof.
L-asparaginase and hydroxyurea.                                  65    2. The compound according to claim 1 being 4-(3-tert-
    The foregoing description illustrates and describes the dis-    buty 1-5-(2 ,4-dichloropheny 1)-4,5-dihydropyrazol-1-y l)ben-
closure. Additionally, the disclosure shows and describes           zoic acid or a pharmaceutically acceptable salt thereof.
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                                                      US 9,388,139 B2
                               37                                       38
   3. The compound according to claim 1 being 4-(3-tert-
bu ty 1-5-(2,4-dichloropheny 1)-4,5-clihydropyrazol- l -y l)ben-
zoic acid or a solvate thereof.
   4. The compound according to claim 1 being 4-(3-tert-
butyl-5-(2,4-dichloropheny 1) 4,5-clihydropyrazol-l -yljben-
                               0
                                                                   5
zoic acid.
   5. A pharmaceutical composition comprising the com-
pound of claim 1, a pharmaceutically acceptable salt thereof,
or a mixture thereof and a pharmaceutically acceptable car-
rier                                                               10
   6. A pharmaceutical composition comprising the com-
pound of claim J, a solvate thereof or a mixture thereof and a
pharmaceutically acceptable carrier.
   7. A pharmaceutical composition comprising the com-
pound of claim 1 and a pharmaceutically acceptable carrier.        15
   8. A pharmaceutical composition comprising the com-
pound of claim 1, a pharmaceutically acceptable salt thereof,
a prodrug thereof, a solvate thereof or a mixture thereof and a
pharmaceutically acceptable carrier.
                                                                   20
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